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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :     CRIMINAL NO. 21-CR-215-RC
                                             :
                v.                           :
                                             :
JOHN STEVEN ANDERSON,                        :
                                             :
                Defendant.                   :

     UNITED STATES OF AMERICA’S MOTION TO FILE UNDER SEAL
GOVERNMENT’S SUGGESTION OF DEATH AND MOTION FOR ABATEMENT OF
                         PROSECUTION

       The United States of America hereby moves this Court for an order granting the

Government permission to file under seal it’s Suggestion of Death and Motion for Abatement of

Prosecution in accordance with Local Civil Rule 5.4(f).       In support of this motion, the

Government states the following.

       1.       The Government’s motion contains, as an exhibit, a document that contains

personal identifiable information including medical records, date of birth, and social security

number.     This information cannot be redacted.
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       2.      WHEREFORE, the Government requests the Court allow the Government to file

under seal the Government’s Suggestion of Death and Motion for Abatement of Prosecution.



                                            Respectfully submitted,

                                            CHANNING D. PHILLIPS
                                            Acting United States Attorney
                                            DC Bar No. 415793


                                    By:     /s/ Robert Juman
                                            ROBERT JUMAN
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                               CERTIFICATE OF SERVICE


       On this 29th day of September 2021, a copy of the foregoing was served upon all parties

listed on the Electronic Case Filing (ECF) System.

                                              /s/ Robert Juman
                                              ROBERT JUMAN
                                               Assistant United States Attorney




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